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                                                                                         W.HAGEL
                            IN THE UNITED STATES DISTRICT COURT                CLfrf^. IF FGlir^T
                                 SOUTHERN DISTRICT OF OHIO                      tn,-*u|n. lo
                                     WESTERN DIVISION                                 "          ^
                                          (AT CINCINNATI)                        i:: j • .^irVf
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                                                                             WEST OIV CIMCINNATI

QFS TRANSPORTATION, LLC                             }
                                                    }
       Plaintiffs'                                  }
                                                    }      Case Number: 1:21-cv-00769
Vs,                                                 }
                                                    }
ROBYN HUGUELY Et Al.                                }
                                                    }
       Defendants'                                  }
                                                    /



                      DEFENDANT ROBYN HUGUEI.Y'S OPPOSITION TO
                            PLAINTIFFS MOTION FOR TEMPORARY
                          RESTRAINING ORDER AND PREI.1MINARY
                        AND PERMANENT INJUNCTION AND MOTION
                          TO DISMISS AND/OR IN THE ALTERNATIVE
                                         TRANSFER VENUE
                                MEMORANDUM IN SUPPORTING




To the Honorable United States District Judge Michael Barrett


       Comes now, Robyn Huguely, Defendant by and through herself files this Motion In Opposition

To Plaintiffs Motion for a Temporary Restraining Order and Preliminary and Permanent Injunction and

Motion to Transfer Venue and/or Motion For Continuance and in support thereof, would show the

following:


A.     Introduction


             1. In this Complaint filed on December 10, 2021, seeking Relief under the Federal Rules of
                Civil Procedure, Plaintiffhas alleged that Defendants violated certain restrictive
                covenants, specifically, Non-Compcte, Non-Solicitation, Confidentiality Provisions
                and/or Financial obligations with an Agreement signed by QFS and Defendants. These
                allegations are materially false and Defendants deny all of the allegations. Defendant
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               does not accept the U.S. District Court of Ohio a proper forum for this action or

              jurisdiction and venue. The parties are in disagreement that no actual controversy
              remains concerning the proper venue. Defendants categorically deny any and all
              accusations raised by Plaintiffs in this action directly and indirectly.


           2. Defendants Robyn Huguely nor Queen Logistics, LLC have not to this date, received a
              Summons or Complaint from the Plaintiff. Defendant Huguely received an email from a
              Third Party suggesting that a lawsuit had been filed in the state of Ohio.

           3. Defendant Robyn Huguely, argues that a 12(b)(3) Motion To Dismiss or in the
              Altemative, a Motion to Transfer Venue and asserts that Venue is improper under Rule
               12(b)(3) and 28 U.S.C. 1404(a).

           4. Venue is improper and inconvenient in this District. Defendants residency and
               business is outside of this state and this district. The Defendant resides in the State of
               Georgia. Defendants residence is in the County of Coweta and the state of Georgia.
               Defendant's place of business. Queen Logistics LLC is also in the state of Georgia and
               listed with the Georgia Secretary of State which precludes a finding of Proper Venue in
               this District.


           5. A more substantial part of the events or omissions giving rise to this claim occurred
               outside this district than within it.


           6. Defending this action is so inconvenient that the transfer of this case would operate in
              the interest ofjustice.

           7. An ex-driver of the Defendants, Samuel Bailey who is mentioned in the complaint, was
              was terminated prior to any alleged inappropriate activity and/or breach of any
              agreement or misconduct which can not be attributed to the Defendants, (See
               Exhibit "A")

B.     Rule 12(b)(c): Venue is improper and inconvenient

        8. Under 28 U.S.C. 1404(a). a district court has the discretion to dismiss or transfer a
                case if the venue is improper where filed. In addition. Defendants further moves this
court for a dismissal of this action or in the altemative, to transfer this action to the appropriate
jurisdiction on the grounds that venue is improper under Rule 12 (b)(3) Once a Defendant has raised
the issue of venue, the burden of sustaining the venue lies with the Plaintiff. De Joseph v. Odfiell
        Tankers (USA), Inc. 196F.Supp.d476,479(S.D. Tex. 2002)

C.     The elements of the Plaintiffs claim does not give rise to an order granting a Temporary
Restraining Order, (TRO).

       9. The Defendants have not violated any mles within their Agreement with Plaintiff. Plaintiffs'
       statements of alleged violations are without merit. Plaintiffs complaint is meant to demean
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       Defendants and cause irreparable harm to Defendants lives and livelihood.

        10. None of the acts alleged by Plaintiff occurred within this district, therefore, the venue is
       improper. The Regional Business Development, called "Agreement" by the Plaintiff referred to
       by the Plaintiff is flawed.

       11. The arguments put forth by the Plaintiff in this case are wholly unsubstantiated and
       unsupported by any alleged evidence submitted by the Plaintiff.

       12. Plaintiffs choice of this forum is undeserving of any deference and generally
       should not be allowed under these circumstances.


D, Transfer of Venue is Proper

       13. Defendant altematively requests that this court transfers this action pursuant to 28 U.S.C.
       1404(a) to the Northern District of Georgia.

       14. The determinate issues are the "convenience" of the parties and of the witnesses.

        15. A hearthrug in this District would be a grave injustice to the Defendants as it is cost-
prohibitive to litigate in the state of Ohio and it would require the party with far less resources  to
carry the expenses of travel and lodging. Defendant is a small, minority, female owned business and
lacks the resources that may be required to defend her innocence in this action.

       16. Any potential witnesses called on by the Defendants would surely also reside in the state of
       Georgia. If the court takes into account the claims made by the Plaintiff, the venue is relevant.

       17. The alleged wrongful acts purportedly took place outside the state of Ohio.

       18. All of the factors provided in this case to this court favors transfer.


E. No legitimate business practices of the Plaintiff have been violated.

       19. There has not been a breach of any agreement as it relates to the Plaintiff.

       20. Plaintiffs actions are merely an attempt to harass, demean, threaten and intimidate the
       Defendants as the Plaintiff seek to retaliate against Defendant s and other potential agents who
       decide to terminate their agreement with the Plaintiff. It is more than obvious that the Plaintiff
       seeks to make an "example" out of the Defendants

       21. The Plaintiff knew or should have known that the agent in question and at issue in this
       the complaint was terminated before any alleged infraction occurred. Defendants can not be
       held liable for the acts of any person's behavior that are no longer under the auspices of the
       Defendant.
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       22. There exist no "real'Megal basis or purpose for a "TRO" since the alleged person and
incident occurred outside of the Defendants control and no longer affiliated with any of the
Defendants and was not during any unlawful infraction against      the Plaintiff.

       23. The Plaintiffhas not acted in good faith. Plaintiffs actions are not reasonable. Plaintiff has
       taken additional actions to defame Defendants as an act of retaliation.



             24. It is not reasonably necessary for the Plaintiffs to be granted any relief in this case.
                     Defendants did not utilize any QFS Identification nor gave access anyone else
                     permissionto utilize QFS Identification, logo, name, emails, data, or any other
method or code allegedby the Plaintiff. Any documents purported to show otherwise is wholly
       false, inaccurate and misleading..

               25. Defendant has reasonable knowledge that Plaintiff is using Defendants as
                   "scapegoats".


               26. Plaintiffs Complaint was filed as an ill fated attempt to ruin the Defendants
business              in a "retaliation" scheme that is swiftly and unambiguously evident.


               27. Plaintiffs' attempt to amend it's original complaint purely shows the lack of
               confidence in the case as initially presented.

               28. Plaintiff has consistently taken efforts to "punish" Defendants because they chose to
               terminate their contract with Plaintiff after 1 year as agreed.


F. Plaintiffs case should be Dismissed


               29. Plaintiffs has not serve or sought to serve any of the Defendants in this case with a
                      Summons or Complaint.

               30. Defendants have fully and substantially performed all of its promises,
               performances, duties and obligations as it relates to any terms of the agreement signed
                      by both parties.

               31.Plaintiff has not attempted Service of Process of the Summons or the Complaint.

               32. Defendant had to rely on a third party;s information regarding the filing of THIS
                     Complaint by the Plaintiff. Defendant is still waiting for Plaintiff to perfect
Service.


               33. The initial Complaint was filed more than 27 days ago and has yet to be perfected.
                     Defendant is entitled to perfected service.
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                34. It is incumbent on the Plaintiff to ensure proper service is made diligently.

                35. Plaintiff has completely failed to show that they have acted reasonably and
                       diligently to ensure proper service has been perfected.

                36. The Plaintiff has completely failed to show that they have acted reasonably and
                      diligently to ensure service was made on Defendants as quickly as possible.



G. Conclusion


                37. Plaintiffs' right to choose the venue in which to prosecute this suit has yet to be
                established. Plaintiff has not met their burden to show that the current venue is proper.
                This court should deny Plaintiffs Motion for a Temporary Restraining Order and
                Temporary and Permanent Injunctive Relief. Defendant prays that this court grants it's
                Motion to Dismiss or in the alternative, Motion to Transfer this case.

                38. Plaintiff has not provided any clear or concise evidence of a Contract Breach or that
                it was a direct result of the actions directly or indirectly of the Defendants.

                39. Defendants will be irreparably harmed if the court grants a Temporary Restraining
                      Order in favor of the Plaintiff since no other issues exist that warrant the granting
of the                 TRO.


                40. Plaintiff is not entitled to specific performance to enforce any rights as it relates to
                its business agreement with Defendants.

                41. Defendant has not been afforded the appropriate time needed nor opportunity to
                      seek and retain competent legal counsel for this immediate action against Queen
                             Logistics, LLC, Therefore, Plaintiffs claim should be barred.

                42. The unmitigated fact in this case is that Plaintiff has not attempted for weeks at any
                      point sought to serve Defendants. The law requires service of process which the
                      Plaintiff has yet to initiate and has not offered any legal defense on this issue.

                43. Plaintiff should not be rewarded for their willful intent to ignore service of
                       process on Defendants when it is required by law.

                44. Plaintiff failed to take appropriate actions to fulfill service related issues.

                45. Plaintiffs behavior is clearly a violation of Federal Rules of Civil Procedure.

                46. Insufficient Service of Process exists in this case.


                47. Courts have held that personal jurisdiction is "the very bedrock of due
                      process"McRae V. White, 269 App.455, 604 S.E.2d 291(2004).
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               48. Without proper service, no valid lawsuit arises. Plaintiffs case should be dismissed
               due to the courts lack ofjurisdiction.

               49. The Summons have not been served on Defendant, Robyn Huguely

               50. The Complaint has not been served Defendant, Robyn Huguely

               51. The Summons have not been served on Defendant, Queen Logistics, LLC. Nor its
                      Registered Agent.


               52. The Complaint has not been served on Queen Logistics, LLC nor it's Registered
                       Agent.

               53. Defendants claim Insufficient Service of Process.


               54. Defendants object to personal jurisdiction.

               55. QFS will not suffer any substantial harm or irreparable harm because no breach has
                     occurred by the Defendants.

               56. Preliminary and Permanent Injunctive Relief will harm Defendants.

               57. Injunctive relief will not serve the public interest.

               58. Plaintiffs have not produced any evidence that Defendants took part in any willful
                      breach of contract within the Regional Business Development Agreement.

               59. Any persons identified by Plaintiff as to any alleged misconduct is not affiliated
                     with Defendants or at any time material to this case.

               60. Defendant at no time material to this complaint, violated any terms of the agreement
               signed by both parties. Defendants can not be held accountable or responsible for the
                      misconduct or actions of any persons not under their employ.



       WHEREFORE, Defendants respectfully prays that this court deny Plaintiffs Motion for a

Temporary Restraining Order and Preliminary and Permanent Injunctive Relief. Defendants further

pray that this court Dismiss or Transfer this action to the United States District Court of Georgia.

Defendants further pray for such other and further relief to which she may be entitled. Considering

the equities, including the circumstances leading to the filing of this action, and the public interest in
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public judgments, Plaintiff is not entitled to any remedy sought.


Respectively submitted,




                                               _, Date: January 6,2022
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                            IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                        WESTERN DIVISION
                                          (AT CINCINNATI)



QFS TRANSPORTATION, LLC

       PlaintifFs'
                                                            Case Number: 1:21 -cv-00769
Vs.


Robyn HUGUELY Et Al.

       Defendants'




                                   CERTIFICATE OF SERVICE



   Comes now, Defendants who files this Certificate of Service states the following: A copy of this

Motion has been mailed to the below Plaintiff with adequate first class postage affixed to:


QFS Transportation LLC c/o                                  Office of the Clerk
James Papakirk, Attorney at Law                             Potter Stewart U.S. Courthouse
Flagel &, Suite 410                                         Room 103
Cinciimati, Ohio 45241 Papakirk LLC.                         100 E. Fifth. Street
50 East Business Way                                        Cincinnati, Ohio 45202



QFS Transportation LLC c/o
Charles E. Rust, Attorney at Law
Flagel &, Suite 410
Cincinnati, Ohio 45241 Papakirk LLC.
50 East Business Way




                                                , Date: January 6,2022
                                                                  1/5/22, 3:50 PM                                                                              Mail - The UPS Store #1987 - Outlook
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                                                                                                                       SAUJELSWLEY                                               1D-Z2-21   ZC3USMr»UnswittM4FMI
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                                            ATTORNEYS AT LAW


 Jatnes Papakirk
 (513) 984-8111
 jpapakirk@fp-Iegal.com

                                           November 19, 2021


 Via Email & US Regular Mail
   Robyn Huguely                                        Queen Logistics, LLC
   201 Horizon mi                                       Attn: Robyn Huguely
  Newnan, Georgia 30265                                 201 Horizon Hill
                                                        Newnan, Georgia 30265
                                                        qiieenlogistics80@gmnil.com

       RE: QFS Transportation, LLC

 Dear Ms. Huguely,

     This firm represents QFS Transportation, LLC ("QFS"). I am writing to address the
 ongoing obligations of you and Queen Logistics, LLC ("Queen") to QFS that survive the
 termination of the agency relationship. Specifically, as you are aware, Queen entered into
 an Agreement for Regional Business Development with QFS, dated July 22,, 2020 (the
 "Agreement"). Robyn Huguely personally guaranteed each of Queen's obligations
 under the Agreement, including obligations with respect to certain restrictive covenants
 contained in the Agreement. Those include non-compete, non-solicitation, and
 confidentiality provisions. Those also include financial obligations. A copy of the
 Agreement is attached.
      It has recently come to QFS's attention that, since the termination of the agency
 relationship on September 13, 2021, you have been soliciting several agents of QFS on
 behalf of Mercury Transportation, Inc., an affiliate or operating under the trade name of
 World Logistics USA ("Mercury/World"), all in violation of the Agreement.
 Mercury/World is a competitor of QFS in the transportation and logistics business.
      QFS is currently investigating your impermissible solicitation activity, as well as any
 other conduct that constitutes a violation under the Agreement. QFS is also in the process
 of calculating the amounts owed to QFS, which will be addressed in a separate letter. In
 the meantime, QFS demands that Queen and Robyn Huguely each immediately cease
 and desist from undertaking any conduct that violates the Agreement including, but not
 limited to, directly or indirectly competing with QFS, soliciting its agents, and/or
 disclosing any confidential information (as defined in the Agreement) in violation of the
 Agreement. Similarly, Queen and Robyn Huguely should immediately cease and desist
 using or communicating from any domain names or addresses connected to QFS or that
 suggest to others any affiliation with QFS. If you are no longer acting as an agent for
 Mercury/World, please advise us immediately in writing. As QFS continues to


Summit Woods III • 50 E Business Way, Suite 410 • Cincinnati, Ohio 45241 • (513) 984-8111 • Fax (513) 984-8118
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Robyn Htiguely
November 19,2021
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investigate this matter, QFS expressly reserves all of its rights and claims under the
Agreement and applicable law, including without limitation, its right to seek immediate
ei^orcement of the Agreement, monies due QFS, damages, and all other relief to which
it is entitled. This letter also serves as notice that Queen and Robyn Huguely should
preserve and not destroy any data, texts, emails, logs, social media posts, or other
documents or communications, whether in tangible or digital format, issued or posted
while you have worked as an agent for Mercury/World.
    Ifyou wish todiscuss thismatter further, please contact meor,ifyou are represented
by legal counsel, have your counsel contact me.

Sincerely,



             akirk, Esq.

/ enclosure

cc: Emily Barcenas, Esq.
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               AGimEMENT FOR REGIONAL BUSINESS DEVELOPMENT

         This Agreement for Regional Businw^ pevelopment ("Agreement"), is made this
day of . \0\ii^           . 20 AOC'Effective Date"), by and between
("Carrier^, an^io limited liability company located at 11461 Northlake Drive, Cincinnati, Ohio
45249.        Ql\PPir\ I                         I LC^                       —_("Contractor"),
looted at                                                                                   and
                     VAtyy va hy,                                ("GUarahtor(8)"), whose address
is                            7 V\ iV\                  (oA                •Cam&^ntmctqr,
and Gnarant6r(s) may sometimes be referred to collectively herein as the "J^es*^ and any one
ofthem individually as a'Tarty."

                                          RECITALS

         WHEREAS, Carrier is a common carrier duly certified and permitted by federal
authorities and various state agencies, and whose primary business is transporting commodities
in interstate commerce;

         WHEREAS, Contractor is an independent contractor that operates and develops business
through other transportation companies, and Contractor desires to exclusively provide those
services to Carrier in the geographical area of fSC^"VV\t=ft 5^-                                    «
       whereas, Contractor understands that this Agreement is not exclusive andthat Carrier
reserves the right to contract with other independent contractors for trucking/
intermodal/transportation services in this and othergeographical areas;
         whereas, Guarantor(s) is/areContractor's majority owner(s) and/orprincipal(s); and
         WHEREAS, the Parties mutually agree to the terms and conditions as outlined herein and
enter into this Agreement oftheir own ^e will.
         NOW, THEREFORB, in consideration of the foregoing and of the mutual promises
contained herein, the Parties agree:

         1.     RECITALS INCORPORATED

         The Recitalsabove are expressly incorporated by reference as if fully restated herein and
made part ofthis Agreement.

         2.     INDEPENDENT        CONTRACTOR          STATUS,     INDEMNIFICATION,            AND
                GUARANTEE

                A.     The Parties intend, understand, and agree that this Agreement creates only
a common carrier-independent contractor relationship. The Agreement does not constitute an
employment partnership, or joint-venture agreement between the Parties. Contractor is solely
responsible for the means and methods it uses in performing its obligations to Carrierunder this
Agreement.

                                                                                       Carrier Initial.
                                                                                    Contractor Initial
                                                                                  OuBrantor(8) Initial.

                                                                                                          /
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                 B.     Contractor may utilize subcontractors to perform services under this
Agreement; however. Contractor remains fully responsible for ensuring that any subcontracted
services fully comply with this Agreement, and Contractor remains solely responsible for the
performance ofall services under this Agreement.

                 G.      Carrier is not responsible for providing any benefits, including, but not
limited to, those it provides to its own employees, such asworkers' compensation insurance and
unemployment insurance, to Contractor or to Contractor's employees, agents, servants, and/or
subcontractors. Rather, Contractor is solely andfully responsible for providing anysuch benefits
and will fully defend, indemnify, and hold harmless Carrier from any claims arising from
Contractor's failure to do so. Contractor is solely responsible for all withholding and
employment taxes due to the federal. State, or local authorities relating to Carrier's payment for
work performed by Contractor and/or its employees, agents, servants, and subcontractors under
this Agreement. Contractor agrees to fully defend, indemhify, and hold hariWeSs C
(a) any claims made by Conitractor'spmplpyees, agents, servants, Or subcohtractors for payment
for services performed under fois Agreement, an^               claiins made by federal, state, and/or
local authorities onaccount Ofwithholding oremployfoedt taxes related to suchpaytnents.
                 D.      To the fhlleist extent provided by law, Cpntractor will fuHy defend,protect
the name and business reputation of, indenini^, and hold hanniess Cairier from any claims or
damages arising put ofor resulting in any part fi^om Cpntractor's negligent, reckless, topwihg, or
intehtipnal acts of Omissions or contractual breaches, pr thoseof Contractor's agents, enipfoyees,
servants, arid/or subcontractors foat;berfonn Contractor's pbligatiohs under this Agreement.
Contractor's duty to indemnify Carrier shall siuviye t^minatipii of this Agreement to theextent
that any claims ordamages made or awafded after the tenninatipn ofthis A^eemeht arise pu^ t)f
or result in any part from Contractor's or Contractor's agents', employees', servants', and/or
subcontractors* acts, omissions, or contractual breaches, that wereundertaken pr omitted dwlng
this Agreement's Term (the "Tp'™" and as defined in Paragraph 14 beldw).
              B.      Guarantpr(s) hereby peraonally, jointly and severi^^
Cpntractpris prompt, full, timely, and complete perfonnance of its covenants and performance
Obligadpns to Carrier, incfo^d^ but not limited to, the following: timely payment to all of
Cpnfraetor's agents, employees, servants, and subcontractors who perform Cpntractor's
obligations under this Agreement; Contractor's cpi^dendalify, npn-competition, and non-
solicitation obligations to Carrier under (his Agreement (as defined in Paragraphs 8 - 10 belpw);
and the prompt payment of any and all of Contractor's present md ihture indebtedness to
^Carrier. ;•

          3.     CONTRACTOR COSTS

          Contractor shall furnish and maintain, at Contractor's sole cost and expense, all facilities
and equipment required for Contractor's operations, including, but not limited tp, trailer and
terminal rental and expenses; repairs; licenses; taxes; insurance; office supplies; wprkers'
compensation insurance; per diem trailer, container, or chassis charges; equipment maintenan<^B


                                                                                          CamerjnitiBL
                                                                                       CpntractorMt|al_ m:
                                                                                     QuarahtDr(s)Initial. RJrt


                                                                                                                 -
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costs; and computer hardware. Contractor is fully responsible for all cpsts and expenses related
to any sales activities it perfonns for Carrier. Contractor is not obligated to use any facilities
owned or leased by Carrier. Contractor is 100% liable for all per diem and trailer rental costs
associated with any and all shipments ithandles for Camef. Carrier shall accrue all per diem and
trailer costs on a \veeldy basis and unmediately deduct these costs ^m any amounts owed to
Contractor, regai^eSs of when Canieris invoiced by Carrier's customers or vendors.
       4.      CONTRACTOR SERVICES                        •I




       Contractor shall perform thefollowing terminal services forCarrier (the "Services"):
              A.       Actively develop and solicit freight 'transportation for Canier. Contractor
will develop business by identifying and soliciting shippers to provide freight to Camer.
Although Carrier may assist Contractor in such obligations by providing Contractor with
information or other resources, Contractor remains solely responsible for developing business by
identifying and soliciting potential shippers. Contractor will negotiate rates with shippers subject
to earner's final approval. Contractor must confirm all shipping rates in writing and signed by
the shipper before presentinjg them to Carrier for final approval; oral quotes are not acceptable.
Carrier may deny the approval for any shipper orshipping rate initssole and absolute discretion.
               B.     Arrange for Carrier's freight            to be hauled       by independent
contractor/owner-operators orbrokered tomotor carriers. Contractor represents and warrants that
it will only recruit independent contractor/ owner-operators and motor carriers ("Independent
Entities") who meet federal, state, and local quaiifications, as well as Carrier's driver
qualifications (including pre-employment and random drug and alcohol testing) and Carrier's
insurers* requirements, to haul freight for Carrier, and to refer all such Independent Entities to
Carrier for final approval. Contractor shall become familiar with and fully enforce Carrier's
safety standards, including requirements for equipment maintenance and testing. Contractor
certifies that it has read and will abide by the U.S. Department of Transportation safety
requirements and that it shall consistently monitory and not require or permit any ofits drivers to
exceed the hours of service regulation. Contractor understands tliat federal law requires that any
Independent Entities utilized by Contractor to haul Carrier's freight must sign agre^ents
directly with Carrier. Carrier retains the ultimate authority to decide which Independent Entities
it will contract with. In performing its obligations imder this Agreement, and piuauant to federal
law. Contractor represents and warrants that it will only use Independent Entities that have
directly contracted with Carrier. Contractor also agrees to immediately transmit to Carrier any
DVER (roadside inspection), evidence of overweight fine, or traffic violation that Contractor
become aware of or that comes into Contractor's possession during the Term (as defined
below).

               C.     Contractor is the designated liaison between Carrier and the Independent
Entities. Contractor will offer Carrier's freight to the Independent Entities and relay information
Concerning results desired by customers to the Independent Entities. Contractor understands and
agrees that such Independent Entities are not Carrier's employees. As Carrier must legally


                                                                                        Carrier Initial
                                                                                    Contractor Initial C/1^
                                                                                   Guarantor(s) Initial
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contract with Independent Entities utilized by Contractor to haul Carrier's freight, Contractor
will calculate ail paymente Carrier pwes to such independent Entities and timely provide this
infbnhatipn to Ganier. Cpntractor is fully responsible for the accuracy of these calculatipns tod
win promptlyreimburse Carrierfor any overpayments to these entities.

              D.      Cpntractor will provide and perform order entry and computer dispatch
functions. Cpntractor will also provide computer hardware arid accounting services to folly
perform its obligations under this Agreement. Contractor is solely respoiisible for determmiug
the mtoner and means by which Contractor performs these functipns. Contractor will retain all
billing and pther business records for at least three (3) yeare following the shipment date(s) and
return all such records to Carrier upon this Agreement's termination.
                 E,     All vehicles utilized in any way by Contractor will be placarded with
Carrier's logo. Contractor's trucks will remain placarded with Carrier's logo until this
Agreement terminates, at which time Contractor affirms it will immediately remove placards
upon notification by Carrier and provide reasonable written evidence and/or confirmation that
this has occurred in a timely manner.

          5.     CONTRACTOR'S INSURANCE

          Contractor shall insure and fully defend, indemnify, and hold harmless Carrier for any
loss or damage to any freight shipments while toey are not under Carrier's dispatch, but are in
Contractor's possession or care or the care Of Contractor's agents, employees, servants, or
subcontractors, including but not limited to, lossor damage caused by negligence, thefl, spoilage,
breakage, or improper handling. Contractor shall pay all deductibles for any insurance required
imder this Agreement Prior to performing its obligations under this Agreement and annually
thereafter during this Agreement's duration. Contractor shall furnish Carrier insuranee
certificates verifying that (1) all insurance required by Carrier is in effect, and (2) all such
insurance names Carrier as an additional insured. All insiuunce must contain a provision
requiring the insurance company to provide Carrier a minimum of thirty (30) days' advance
written notice before the cancellation or reduction of any such insurance. Conhactor shall
immediately notify Carrier in writing and transfer all information about any shortage. Overage,
and damage claims. Contractor shall perform any inspections necessary to resolve shortage,
overage, or damage claims and cooperate with ^rrier's Claim Departments and/or insiu^rs
regarding suchclaims. Carrier is liable underfederal law for everyshortage, overage, or damage
claim; thus. Carrieris authorized to adjust, settle, or compromise such claims even if they arise
fi-om Contactor's conduct, omission, or inaction. In the event Carrier incurs equipment or cargo
loss while the same is not in the care or custody of a contract owner-operator. Contractoris liable
for the first $5,000.00 in losses. The same $5,000.00 liability applies if a contract owner-operator
or driver of Contractor abandons any piece of equipment ^d/or a loss of cargo or equipment
occurs.




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       6.      COLLECTIONS

      In accordance with applicable law, Contractor shall timely prepare, maintain, and
promptly forward copies of all records and reports to Carrier. Contractor shall also prep^e,
maintmAt and provide Carrier with any records and reports needed by Carrier to evaluate
Contractor's compliance with its obligations under this Agreement Contractor shall remit to
CarrierdaUy all moiiies that it collects on Carrier's behalf.

       7.      EXCLUSIVITY

       This is an exclusive agreement forservices. Contractor must devote exclusive services to
Carrier and shall not perform any services for any other carrier or competitor of Carrier at any
time during the Term (as definedin Paragraph 14 below).
       8.      NON-COMPETITION

        Contractor and Guarantor(s) acknowledge that Carrier will provide them with access to
Carrier's Confidential Information (as defined in Paragraph 10below) during the Term to allow
Contractor to effectively provide services to Carrier. Contractor and Guarantor(s) also recognize
Carrier's need toprevent unfair competition and toprotect Carrier's legitimate business interests,
and that the Confidentiality obligations set forth in Paragraph 10 of this Agreement are
insufficient to fully protect those interests. Accordingly, Contractor and Guarantor(s) agree that,
during the Term and for a period of one (1) year following this Agreement's termination (for any
reason), neither Contractor nor Guarantor(8) shall in any manner, directly or indirectly, whether
as an employee, proprietor, partner, consultant, salesperson, independent contractor, joint
venturer, principal, owner, agent, broker, representative, officer, or director, provide any
Contractor Services (as defined in Paragraph 4 above) that Contractor provides Carrier to any
person orentity (whether a sole proprietorship, partnership, corporation, firm, jointventure, trust,
or other organization or entity) that is engaged in intermpdal shipping, third-party logistics,
freight brokerage, truck brokerage, supply-chain management, or any related services, and
thereby competes with Carrier ("Competing Business"), within any state or geographic area
where >Carrier has conducted operations during the Term or plans to conduct operations if
Contractor and/or Guarantor(s) learned about those expansion plans during the Term. Contractor
and Guarantor also both agree that during the Term and for a period of one (1) year following
this Ajgreement's termination (for any reason), they will not have, maintain or obtain an active
trucking orbrokerage authority. Tolessen the chance that Contractor ajid/or Guarantor(s) violate
this paragraph's restrictive covenants and consequently expose themselves to a legal action by
Carrier to enforce this Agreement, for the one year following this Agreement's termination (for
any reason). Contractor and/or Guarantor(s) also agree to immediately (and priorto entering imo
an a^ement) notify Carrier (pursuant to the requirements of Paragraph 27 below) of their
intention to contract with or pdierwise provide services to an actual or potential Competing
Business and provide Carrierwith the name of such Competing Business.




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                                                                                   Guarantor(s) Initial.
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           9.    NON-SOLICITATION

                 A.      Contractor and Guarantor(s) recognize C^er ntiay provide and tender
certain loads and business to Contractor fibni racisting custoniers of Cfurier during the Term
(those existing customers and Carrier's relation^ps with those customers shall hereinafter be
referred to as "Carrier Business''). Contractor and GuarantorCs) agree that for two (2) years
following this Agreement's termination (for any reason), they will not solicit or perform any
services for Carrier Busiiiess, or otherwise take any action to diviert business away fiem Cainer.
Any customers that Contractor can demonstrate that it solicited and moved loads for prior to
entering this Agreement would not be excluded from "Carrier Business''; however, Carrier
reserves the right to challenge any such requested exclusions. Concurrent with executing this
Agreement, Contractor and Guarantor(s) agree to notify Carrier in writing ofall such customers
that either Contractor or Guarahtor(s) claim should be excluded fi-om this non-solicitation
section. Otherwise, Carrier will be allowed to reasonably infer and rely upon the fact that no
such exclusions exist.

                 B.      Contractor and Guarantor(s) agree that, during the Term and for a period
of three (3) years following its termination (for any reason), neither Contractor nor Guarantor(s)
shall in any manner, directly or indirectly, interfere with, tarnper with, disrupt, use, or attempt to
disrupt any contractual orother relationship, orany prospectiye relatipnship, between Carrier and
any of its customers. Owner-operators, agents, clients, consultants, suppliers, vendors, lessees, or
lessors.

                 C.      Contractor and Guarantor(s) agree that, during the Term and for a period
of one (1) year following this Agreement's termination (for any reason), neither Contractor nor
Guarantor(s) shall in any manner, directly or indirectly, whether as an employee, proprietor,
partner, consultant, salesperson, independent contractor, joint venturer, principal, owner, agent,
broker, representative, officer, or director, solicit or hire any of Carrier's employees, office
personnel, owner-operators, or other agents who are currently, or were at any time during the
Term, leased to or working for Carrier, other than those owner-operators who are leased by and
under Contractor's exclusive dispatch and control.

           10.   CONFIDENTIALITY

                 A.      Contractor and Guarantor(s) acknowledge and agree that infoi^tion
concerning Carrier's or its affiliates' computers, computer databases, software. Carrier Business,
operating policies and procedures, methods of computer software development and utilization,
computer source codes, financial records (including, but not limited to, credit history and
information about customers, prospective customers, owner-operators, and suppliers),
infonnation about transactions, the terms of business dealings and relationships with customers,
financial and operating controls and procedures, documentation, contracts and agreements of all
kinds (including those with customers, owner-operators, other agents, suppliers and vendors),
pricing lists, marketing information, sales lists and strategic, customer lists, owner-opeputor
lists, agent lists (including contact names, physical and email addresses, telephone numbers, and


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other identifying information), intellectual property or trade secrets, customer account
information, business poUcies, purchasing information, and all information provided by C^ier
to Contractor and/or Guarantor(s) duimg the Tenn to allow them to provide the Seivices is
Carrier^s sole and separate proprietary and confidential information ("Corifidehtial;
Information'^

               B.      Contractor arid Guarantor(s) specifically affirm and acknowledge that
Carrier's customer lists, agent lists. Other information about Carrier's customers and agents, and
the contents of and information stpred in Carrier's computersystem are proprietary trade secrets
with significant economic value, compiled through a substantial mvestment of time and nioney
by Carrier, and are not common toowledge throughout the industry, All such trade secrets and
Confidential lnfbrmation are for use only by Carrier as required to fully perform the Services and
may only be shared by Carrier with its personnel that have a need to know the information to
provide the Services

                C.      Contractor and Guarantor(s) acknowledge that Contractor, as an agent of
Carrier, will require access to such Confidential Infonnation during the Term to effectively
perform its duties. Contractor and Guarantor(s) also agree that the use of or access to such
Confidential Information does not give Contractor or Guarantor(8) any ownership rights
whatsoever in the Confidential Information. Upon termination of this Agreement (for whatever
reason). Contractor and Guarantor(s) shall inunediately cease using and return such Confidential
Information, regardless of form, to Carrier. Contractor and Guarantor(s) shall not, during the
Term or at any time tiiereafter, divulge or disclose to anyone, or use for their own benefit, any of
the   Confidential InformatioiL Contractor and Guarantor(s) shall, upon this Agreement's
termination, destroy or deliver to Carrier (at Carrier's sole discretion) any and all originals and
copies of any Confidential Information in their possession, and they shall notmake or retain any
copies of such materials.

                D.      All computerpasswords are assignedto individuals, and Contractor agrees
that each of its individual's log-in passwordand entry credentials into Carrier's computersystem
will be restricted to those specific users, and that none of Contractor's staff will share or use
someone else's password. Prior to providing access. Contractor will notify Carrier in writing of
the identify of all its employees or contractors who will receive log-in password or entry
credentials into Carrier's computer systems or otherwise receive or have access to the
Confidential Information. Carrier retains the sole discretion to grant, deny or restrict such access
to these individuals.

                E.     Contractor and Guarantor(s) agree that they will not, either during the
Term or at any time following the Agreement's termination (for any reason), directly or
indirectfy, disclose any ofthe terins and conditions of this Agreement or any of the Confidential
Information.




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       11.     MATERIAL        BREACH,        REMEDIES,        PRESUMPTION         REGARDING
               CONFIDENTIAL INFORMATION, AND ATTORNEYS' FEES

              A.      Contractor and Guarantor(s) recognize and agree that any breach of the
restictiye covenants and confidentiality provisions Sfet forth in Paragraphs 8 - 10 above shall
consti^te a material briMch by Contractor and/or Guarantor(s) of their obligations under this
A^eement Contractor and Guarantors) further recognize and agree that the foregoing
gebgi^phic, duratiph, and content restrictions are reasonable and properly required for the
adequate protection ofCarrier and Carrier's business interests. Contractor and Guarantor(s) state
that they have carefully considered the nature and extent ofthe restrictions upon Contractor and
Guarantors) during and after the Term, as well as the corresponding rights and remedies
corifened upon Carrier, and Contractor and Guarantor(s) hereby acknowledge and agree that
those restrictions, rights, and remedies are reasonable in duration, geography, and content, are
reasonably intended to eliminate unfair competition against Carrier, are necessary, and are
reasonably tailored to protectCarrier's legitimate business interests.
               B.      Contractor and Guarantor(s) both agree that this Agreement's restrictive
covenants are of a special and unique nature, that Carrier will suffer inunediate and irreparable
harm as a result of Contractor's and/or Guarantor(s)' breach or threatened breach of those
covenants, and that Carrier's damages resulting from any breach will be inordinately difficult to
determine and likely inadequate to fully and fairly compensate Carrier. Accordingly, since
Carrier is without an adequate legal remedy if Contractor and/or Gu8rantor(s) breach any of Ais
Agreement's restrictive covenants, Carrier shall be entitled to obtain immediate injunctive relief,
wheAer temporal, preliminary, orpermanent, in addition to any oAer remedy Camer may have
at law orin equity (including recover of damages). Contractor and Guarantor(s) expressly agree
Aat in any such action for equitable relief brought by Carrier, any requirement for Camer to
show, or establish irreparable harm or injury shall be satisfied by the introduction of Ais
Agreement into evidence.

               C.      If Contractor and/or Guarantor(s) violate any of Ais Agreement's
restrictive covenants, Ae Parties agree Aat Ae terms of any restrictive covenant(s) so violated
shall automatically be tolled during any period of breach and extended for Ae length of any such
breach. This Agreement's restrictive covenants shall survive termination of the Agreement (for
whatever reason).

               D.      Contractor and Guarantor(s) agree Aat, during Ae time limits of this
Agreement's restrictive covenants, Contractor's engagement in any form of agency or business
relationship wiA a competitor of Carrier, oAer Aan on behalf of Carrier, will be presumed to
necessarily result in Contractor revealing, basing judgments and decisions upon, or oAerwise
using the Confidential Information to unfairly compete wiA Carrier.
               E.      Contractor and Guarantor(s) furAer agree to pay any and all legal fees,
mcludmg wiAput limitation, all reasonable attorneys' fees, courtcosts, andanyoAerrelated fees
and/orcostsincuiredby Carrierin enforcing this Agreement's restrictive covenants.


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                                                                                  auarantor(s) Initial_;£
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       12.     BREACH AND DAMAGES

               A.     If Contractor and/or Guatahtor(s) breach or threaten to breach any of toeir
material obligations imder this A            in addition to all Other remedies in la^ and equity
available to C^ef, Cariiershadl haveno obligation to make My further payments to Contractor
pursuaht to this A^eementuntil such breach is cured, if possible.
               B.     Contractor and Guarantor(s) recognize that if either or both breach any of
their material obligations under the Agreement related tp the restrictive covenants ("Event of
Breacli"), Carrier's actual damages sustained fipm such a breach are difficult to estimate as of
the Effective Date and would bedifficult and impractical for Carrier to reasonably ascertain and
prove. Therefore, in anEvent ofBreach, Contactor and Guarantor(s), jointly and severally, agree
to pay liquidated damages to Carrier in an amount equivalent to Contractor's average monthly
revenues on Carrier Business for both the three (3) full months itnmedlately preceding and
following the month that the Event ofBreach occurred, inaddition tothe injunctive remedies and
specific performance relief outlined in Paragraph 11 above. The Parties agree that this amount of
liquidated damages is reasonable, riot a penalty, and just and proper compensation to Carrier for
any damages likely to result from an Event of Breach.
       13.     TERMINATION

       If any Party materially breaches this Agreement and fails to cure such breach within three
(3) business days after receiving written notice by the non-defaulting Party, the non-defaulting
Party may terminate this Agreement by sending written notice of termination to the breaching
Party, ^y failure to soterminate shall not constitute a waiver ofsuch breach orany other breach
of this Agreement, and the termination of this Agreement shall not release any of the Parties
from any liability that has accrued prior to the Agreement's termination. In the absence of such
breach, only Carrier may terminate this Agreement for convenience before the Term has
expired. Carrier may do so by giving thirty (30)days' written notice to Contractor.
       14.     TERM

       This Agreement shall be effective from tV\\t         S^o                      (the "Term");
provided, however, that the Term shall automaticallj^enew for successive one-year terms unless
(i) one of the Parties provides written notice of non-renewal at least thirty (30) days prior to the
end of the then-existing Term, or (ii) this Agreement is otherwise terminated pursuant to
Paragraph 13 above.

       15.     TEMPORARY SUSPENSION

        The Parties' respective obligations shall be temporarily suspended during any period
where any of the Parties cannot comply with the requirements of the Agreement by force
majeure events such as acts of God, public enemy, labor disputes, fires, floods, strikes, work
stoppages, civil riots, and other contingencies beyond the reasonable control of the affected
Party. Carriershall incur no liability to Contractorin the event of any of the aboveevents.


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       16.     FREIGHT CHARGE COLLECTION
       Carrier has the exclusive ri^t to handle all billing offreight charges to the customer for
Ae Services provided herein Md; as such, Contractor agrees that itwaives any and all rights to
in^itute any collection efforts against the shipper, receiver, consignor, consignee, or the
customer. Carrier, Contractor, and Guarantpr(s) expressly affirm that the receivables generated
through Contactor's services are Carrier's property. Contractor acknowledges that Camer may
take any reasonable action regarding receivables not collected afterninety (90) days, including
but not limited to, taking legal action and placing a credit hold place on the custonier. Such
actions may also include partial or full chargeback to Carrier under certain circumstances,
including but not limited to: invalid receivable(s); balance due(8) ofde minimis amounts; and
disputed charges where Carrier believes it is in Carrier's and/or Contractor's best interest to write
off, credit, or chargeback the feceivable(s). Contractor agrees to pay Carrier for my deficit
balances orother obligations upon notification and substantiation ofindebtedness within ten (10)
days. Late charges of eighteen percent (18%) per annum (or the highest rate permitted under
applicable law), compounded daily, shall be assessed on all outstanding indebtedness of
Contractor to Carrier until fully paid.

        17.    CONTRACTOR'S ADDITIONAL RESPONSIBILITIES

       Contractor shall furnish, at its sole cost and expense, any and all fuel, reefer fuel, oil,
grease, tires, and other items necessary to perform the Services, operate the equipment and
transport the freigh^ including, but not limited to, pickup and deliveiy, accessorial services, and
local equipment charges in accordance with Carrier's tariffs. Contractor shall also keep and
maintain said equipment in good repair and mechanical operating condition in compliance with
specifications, laws, and regulations of Carrier, the U.S. Department ofTransportation, and all
other applicable govemmentaLauthorities or agencies having jurisdiction thereof. Contractor
shall notify Cahier by telephone, to be confirmed in writing, if the shipper requires any
accessorial services prior to rendering such services to shipper.
        18.    RETURN OF EQUIPMENT UPON TERMINATION

        Contractor and Guarantor(s) agree that, immediately upon this Agreement's termination
(for whatever reason). Contractor shall deliver any and all of Carrier's and/or third-party's
containers, rental trailers, and shipments to Carrier's terminals or to a place designated by
Carrier. Contractor shall not in any fashion encumber or delay the retum such equipment Until
Contractor so delivers Carrier's equipment. Contractor acknowledges it is not legally entitled to
any funds allegedly due to Contractor by Carrier, and Carrier shall have no obligation to pay
Contractor any amoimt due to Contractor until Carrier's equipment is so delivered. If the
equipment is not so delivered. Carrier, in addition to any and all other rights it may have, may
immediately possess such equipment and arrange to deliver them, at Contractor's expense, to
Carrier's terminal. Contractor shall pay upon demand, or Carrier may offset against any amounts
coming due to Contractor, all costs incurred from Ae date that Contractor fails to return the
equipment to Carrier xmtil the eqtiipment is returned to Carrier's terminal, plus a rental fee of


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$150,00 per day per container or trailer. Contractor hereby waives any and all liens,defenses, or
legalobjections to any suit involving Carrier's and/or third-party'sequipment.
        19.    DEPOSIT

       Contractor and Guarantor(8), jointly and severally, hereby indemnify and hold hsutnless
Carrier from and again^ any and all losses, claims, suits, costs, and expenses (including
reasonable attdraeys' fees and costs incurred by Carrier in defending an indemnified claim or in
seeking to enforce or collect the indemnification provided hereiinder) incurred by Carrier
("Losses") that are caused by the negligence or reckless, knowing, or intentional misconduct of,
or breach of this Agreement by. Contractor, Guarantoifs), or their respective drivers, owner-
operators, or agents. Contractorshall deposit with Carrier 1% of the gross revenue of Contractor
each week until theDeposit is reached, or post a Bond upon execution of this Agreement in the
amount of $10,000.00 (the "Deposit") to be held by Carrier to secure die foregoing
indemnification obligation. Without limiting any other available remedy. Carrier may, upon
written noticeto Contractor, apply the Depositto reimburse Carrierfor the amount of any Losses
and or any other amount owed to Carrier hereunder, and deduct, at Carrier's option, such
amounte ofmonies from Contractor's compensation due hereunder when and as due to reimburse
Carrier for any Losses or otheramounts in excess of the Deposit, and/or to restore the Deposit to
the initial amount funded hereunder. Carrier shall, within nine^ (90) days after this Agreement's
termination, return the Deposit to Contractor, without interest, minus any amounts then owing
Carder, with a written itemization of deductions.

     If checked, this paragraph's deposit requirements arewaived andno deposit is required.
        20.    C.O.D. SHIPMENTS

        If Contractor received business from a customer who is not an approved credit (nistomer
of Carrier, or if such revenue exceeds the credit limit set by Carrier, Contractor will provide
service only under a C.O.D basis. Contractor is responsible for verifying with Carrier (or by
accessing Carrier's computer system) that the customer has not exceeded its credit limit,
and Contractor must enter the order into Carrier's computer before picking up the load.
Contractor must have all new customers complete Carrier's credit application, and Contractor
must return the signed and completed application to Carrier for credit approval. Contractor will
keep a copy of the credit application on file for three (3) years. Customers who do not have
credit approval of Carrier are NOT covered by the bankruptcy and insolvency provision of
Paragraph 23 below, and will be charged to Contractor if the customer does not pay Carrier
within fifteen (15) days. Contractor assumes full liability for credit requested by customer
beyond the amount approved by Carrier as well as any and all other exceptions to Carrier's
standards, On all C>O.D. shipments. Contractor is responsible for collection of the charges before
the shipment is deliyered. Con^ctqr will be responsible for all expenses on any C.O.D.
sbiptnents where such C.O.D. charges are not collected before delivery. All owner-operator pay,
motor carrier brokerage costs, and any other expenses for the shipment will be paid by Carrier




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                                                                                 Guarantor(s) Initial_j
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aad deducted from Contractor. If the G.O.D. charges ^e later collected from the customer (after
the costs were deducted fi^om Confractor), Confractor will bereimbursed within ninety (90) days.
       21.      COMPLIANCE WITH LAWS AND REGULATIONS
       Contractor shaU comply with all the laws, rules, and regulations of the U.S. Department
ofTransportation, any Public Utility Cdrnmission ofthe state where Cpntractor will perform any
of the Services, and any other federal, state, and local authority whichmay have Jurisdiction.
Contractor warrants that it has nowhas, and shallcontinue to have, during theTerm the requisite
governmental authority or licenses to render the services herein specified. Contractor agrees
not to accept any shipments that have not already cleared U.S. Customs inspection where
the shipnient would be subject to Carrier being bonded, without written permission from Carrier.
Conimctor has received a copy of Carrier's scope of operating authority to provide
transportation, and Contractor agrees not to accept or transport any shipments not authorized by
Carrier's authority, any refiigerated shipments, or any and all hazardous material shipments
unless otherwise approved by Carrier in a separate writing. Cpntractor warrants that it will
comply with federal law by warranting that no person, firm, or corporation (or any employee of
such person, firm, or corporation) that is inany way interested in the ownership of the shipments
to be transported, loaded, or imloaded will be permitted to perform any services under this
Agreement. Contractor will comply with federal law by not paying any monies that could be
cpnstrued to be kick-backs direptly or indirectly to any shipper, consignee, and/or person
interested in the freight so handled or transported by Carrier, or to any of their agents, servants,
or employees.
       22.      COMPENSATION AND BILLING PROCESS

       Carrier shall compensate Contractor for all the services performed hereimder as set forth
in Schedule A, which is attached hereto and fully incorporated herein. Contractor agrees that it
will have the customer send all purchase orders and requests for service (hereinafter "Work
Orders") in writing in advance of service being performed. Contractor agrees not to provide
service to any customer without a written Work Order from the customer, which contains
customer's requirements for invoicing the customer and/or a rate confirmation. Contractor agrees
to enterall WorkOrders into Carrier's computer within one (1) hoin of receipt if the WorkOrder
was received between 8:00 AM and 5:00 PM, or the next morning before 10:00 AM on Work
Orders received after 5:00 PM the previous day. (All times are Eastern Time.) Contractor will
enter into Carrier's computer all dispatches assign^ to ordelivered by owner-operators or motor
carriers during the same business days between 8:00 AM and 5:00 PM and the next morning
before 10:00 AM on all assignments and deliveries made after 5:00 PM on the previous day.
Contractorand owner-operators will be paid for all work delivered between 12:01 AM Saturday
through 11:59 PM Friday (hereinafter "Work Week"), on the first Friday, seven (7) days
following the end of each Work Week, provided that (1) the order and dispatch are entered by
Friday of the Work Week and (2) the Paperwork (as defined in Para^aph 23(B) below) is
received from the owner-operator or motor carrier and scanned into Carrier's computer system
by the first Tuesday at 8:00 PM following the end of the Work Week. Contractor shall scan in


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document images each day, on all Paperwork received during each day. Any deductions that
Contractor wishes to be taken from the owner-operator, for such Aings as loans, repairs,
infection fees, etc., will be entered on aload ofthe owner-operator to be deducted or ^^mail
tobe srat to Carrier by Contractor seven (7) days prior to the Friday payday in wUch it is to be
deducted.

       23.     BILLING ERRORS, AGENT DEDUCTIONS, ANDPAPERWORK
               A.      If and to the extent any customer fails to pay the frill amoimt of charges
("short pays") for shipments performed by Contractor within ninety (90) days ofthe invoice date
because Contractor foiled to provide the correct billing infomatiop, set upthe con-ect bill to foe
customer, or provide foe correct billing location, or because the customer was dissatisfied with
foe service provided, foe service did not meet the customer's requirements, foe rate w^
incorrect, orany other reason other than that the customer (1) is insolvent orfiles for bankruptcy
and (2) had approved credit with Carrier, then any amount short paid vwll be deducted from a
subsequent payment due and owing Contractor and/or taken out offoe Deposit. If foe customer
later pays foe charge, then Contractor or foe Deposit, as applicable, will be reimbursed or
credit^ the amount of foe gross compensation that was deducted. Any and all short-paid
invoices will be deducted immediately from amount to be paid Contractor for foe Services. If
Carrier later receives additional payment on such invoices, it will timely pay Contractor such
amoimts.


               B.      Contractor shall issue the "Paperwork," which includes, but is not limited
to, (1) a fax Work Order from foe customer, (2) proof ofdelivery, (3) a bill oflading, and (4) foe
in and out Trailer Inspection Reports on the equipment, on each shipment generated by
Contractor, and Contractor shall also secure signatures thereon. An image offoat Paperwork will
be scanned and indexed by Contractor to Carrier each dqy in which it is received,
       24.     BINDING AGREEMENT AND ASSIGNMENT

         This Agreement binds foe Parties and their respective owners, share-holders, ofliceis,
employees, agents, heirs, successors, and authorized assigns. Contractor and Guarantpr(s) agree
and consent that this Agreement and the rights, duties, and obligations contained init may be and
are friliy transferable and/or assignable by Carrier, and shall be binding upon and inure to the
benefit of Carrier's successors, transferees, or assigns.

       25.     INTEGRATED AGREEMENT

       This Agreement contains foe Parties' entire understanding and agreement regarding the
Agreement's subject matter and fully supersedes or replaces any prior understandiiig or
agreement between the Parties respecting the subject matter of this Agreement. There are no
representations, agreements, arrangements, or understandings, oral or written, between foe
Pailiesrelating to this Agreement's subject matter that are not fully expressedherein.



13                                                                                        Carrier Inititd.
                                                                                     Contractor Initial.
                                                                                    Guarantor(s) Initial.
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          26.       WAIVER AND MODIFICATION

                    A,     The partis agree tiiat any Party's failure to require performance of^ny of
this Agreement's provisions shall hot operate as a waiver of the right of the other Paihes to
subsequently request strict performaiice of the same or like provisions, or any other provisions
hereof.

             B.    No changes, alterations, modifications, additions, orqualifications shall be
made to this Agreement unless agreed to in writing by a duly authorized representative of
Carrier, Contractor, and Guarantor(s).
          27.       NOTICES

        All notices under this Agreement shall be in writing and given by registered or certified
rnail) commercial courier service (e.g., FedEx), or facsimile, addressed to such Parties at the
addresses set forth below, orto such other address as any of the Parties may advise the others in
writing. Notices will bedeemed given when delivered.
          In case ofa notice to Carrier:

          QFS Transportation, LLC
          11461 Northlake Drive
          Cincinnati, Ohio 45249
          Attn: Todd Haihmerstrom
          Phone: 812-307-4662
          Fax:   812-637-2508

          In case of a notice to Contracton




                case ofa notice to Guarantor(s):



          s     R ) Cfift




14                                                                                         Carrier Initial.
                                                                                       Contractor Initial.
                                                                                     Ouarantor(8) Initial.
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         28.   GOVERNING LAW, VENUE, AND SEVERABILITY

               A.      Gontoctor and Guarantdr(s) understand and acknowledge that Cairier is
organized under Nevada-law arid has its headquarters, and conducts substantial business and
operations, in Ohio where it is registered to do business. Gontractor further aclcnowledges and
agrees that its perforrnahce under this A^echriept is due and owing to Garner, and that a
substantial portion of the duties and obligatioiis of the Parties ar® to be performed in, Hamilton
Gounty, Ohio. Accordingly, this Agreement shall begoverned byOhio law, without reference to
Ohio's principles,ofconflicts of laws. The Fatties voluntarily consent and agree to the exclusive
jurisdiction of the state orfederal courts located inHamilton Gounty, Ohio, over any action, suit,
or proceeding arising out of or rela.tmg to this Agreement. The Parties further waive any
objection to the venue of any such action, suit, or proceeding brought in any such court, and
vvaive any claim that any such action, suit, or proceeding has been brought in an inconvenient
forum.

               B.      If any provision of this Agreement is held under applicable law to be
unenforceable, such provision shall beconsidered tobeseparate, distinct, and severable from the
other rCtnaining provisions of this Agreement, and shall not affect the validity or enforceability
of such other remaining provisions. If any provision is held to be unenforceable as written but
may bemade to beenforceable by limitation thereof, then such provision shall beunenforceable
to the maximum extent permitted by law.

         29.   MISGELLANBOUS

               A.      Hiis Agreement may be executed in counterparts (which maybe delivered
by facsimile or other electronic transmission), each of which shall be deemed an original, andall
ofwhich together shall constitute one and the same instrument.

               B.      Gontractor and Guarantor(s) represent that they are not bound by any
agreement, contract, or other duty to any third party that would prevent Gontractor and
Guarantpr(s) from complying with their obligations hereunder or performing their duties as an
agent or contractor of Garrier.

               G.     Gontractor and Guarantor(s) acknowledge and agree that they had
sufBcient time within which to consider this Agreement before executing it, have carefully read
and fully understand all of the provisions of this Agreement, understand and voluntarily agree to
all of this Agreement's terms, knowingly and voluntarily intend to be legally bound by this
Agreement, have hadsufficient opportunity to consult with theirown legal counsel regarding this
Agreement's terms and provisions,and have knowingly and voluntarilyexecutedthis Agreement
through their respective duly authorized representatives.

         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective
Date.



15                                                                                     Cairier Initial
                                                                                    ContractorInitial^ ^
                                                                                  Ouarantor(s) lnilial_
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CARRIER                                  CONTRACTOR

                                               Oee-kN                      ^LC
                                                          x\-j   .A    I
By:.

Title:

                                         FED ID:


  UAIUNTOI^S)




16                                                                    Carrier Initial.
                                                                   Contractor Initial.
                                                                 Guarantbr(8) Initial.
Case: 1:21-cv-00769-MRB Doc #: 14 Filed: 01/06/22 Page: 28 of 32 PAGEID #: 223




Contractor, at no time will accept,
transport, or broker any shipment
cpn^taining Hazardous Materials as
defined in 49 US Code Chapter 51. Any
breach of this addendum will result in a
penaliy of $10,000.00 and the Contractor
would be responsible for any losses,
fines, penalties, lawsuits from this
breach.


Contractor Signature


Date»         •




19                                                                    Carrier Initial
                                                                   Contractor Initial
                                                                 Guarantor(8) Initial V{Jr\
Case: 1:21-cv-00769-MRB Doc #: 14 Filed: 01/06/22 Page: 29 of 32 PAGEID #: 224




                        NOTARYACKNOWLEDGEMENT^ CONTMCTOR

STATE OF                 CL                     )
                                                )ss:
COUNTY OF C n i ^ ^                             )

         The foregoing instrument was acknowledged befpre me, a Notary PubUc, on this x
day of                         203fl, bv'gAhMrv J                  .as     (\\i)r\-ey
of            I nnf \     on behalf of Gohtractor.
                  J     TXc




                              311                 =    My Commission expires;           6


                        NOTARY                  DGEMENT- GUARANTOR

STATE OF ^YQ\C^                                 )
                                                )ss:
COUNTY OF Cbij^e^                               )

     TTie foregoing instrument w^ Acknowledged before me, a Notary Public, on this                day
of JUVW                                                        . individually.


                                                       Notary Pi^__
                                      S'/Jij:          My Commission expires: OKI^ <^1

                        NOTARYACKNOWLEDGEMENT- GUARANTOR

STATE OF                                        )
                                                )ss:
COUNTY OF                                       )

     The foregoing instrument was acknowledged before me, a Notary Public, on this                day
of                      ' 20 ; by                   __, individually.


                                                       Notary Public
                                                       My Commission expires:



17                                                                                          C^erlnidaL
                                                                                    Contractor Imtial_
                                                                                  Guarontor(8) initial_
 Case: 1:21-cv-00769-MRB Doc #: 14 Filed: 01/06/22 Page: 30 of 32 PAGEID #: 225




                                         ScheduleA

Contractor Pay for Trucking

86% of Line Haul Revenue less truck and all other costs
100% of FSC
86% ofA-Bill Trucking Revenue Less all A-Bill costs
100% ofA-Bill Pass Through less A-Bill Costs



Contractor Pav for Brokerage

60/40 split ofProfit after truck pay and all costs



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18                                                                     Carrier Initial
                                                                    Contractor Initial
                                                                  Quarantortal Initial   fl H
           Case: 1:21-cv-00769-MRB Doc #: 14 Filed: 01/06/22 Page: 31 of 32 PAGEID #: 226



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3. i arh a U.S. citizen or other U.S. person (defined beiow); and
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